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                           UNITED STATES DISTRIC7
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                         SOUTHERN DISTRICT OF CALIFORNIA
                                                           ZUll JUl31 PM 2: 38

UNITED STATES OF AMERICA,

                           Plaintiff,
                  vs.                                JUDGMENT OF DISMISSAL
MARIA INES MEJIA (02),

                           Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismiss
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:


      8:1324(a) (2) (B) (ii) - Bringing in Illegal Aliens for Financial Gain

      8:1324(a)(2)(B)(iii);18:2 - Bringing in Illegal Aliens Without Presentation; Aiding and Abetting

            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.



 DATED: 07/27/12                                         ~
                                                     ~
                                                      U.S. District Judge
